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12
13                            UNITED STATES DISTRICT COURT

14                           NORTHERN DISTRICT OF CALIFORNIA

15                                            )
     JUNHAN JEONG, individually and on behalf )    Case Number: 5:21-CV-02392-BLF
16   of all others similarly situated,        )
                                              )    PLAINTIFF’S MEMORANDUM IN
17            Plaintiff,                      )    OPPOSITION TO DEFENDANT’S
                                              )    MOTION TO DISMISS AND/OR STRIKE
18
              vs.                             )    CLASS ALLEGATIONS
19                                            )
     NEXO CAPITAL INC.                        )
20                                            )    Date: February 23, 2022
              Defendant.                      )    Time: 9:00 a.m.
21                                            )    Judge: Hon. Beth Labson Freeman
                                              )    Courtroom: No. 3, 5th Floor
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                                              )
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1           Plaintiff respectfully submits this Memorandum of Law in Opposition to Nexo’s Motion
2    to Dismiss and/or Strike the Class Allegations of the Third Amended Complaint.
3                                    PRELIMINARY STATEMENT
4           On January 19, 2022, the Court found that Plaintiff stated a claim for deceptive advertising
5    under California’s Unfair Competition Law (the “UCL”) and for declaratory relief, with leave to
6    amend on his breach of contract claim and other grounds for Nexo’s liability under the UCL. See
7    Jeong v. Nexo Fin. LLC, No. 21-CV-02392-BLF, 2022 WL 174236 (N.D. Cal. Jan. 19, 2022)
8    (“Jeong I”). Plaintiff filed a Second Amended Complaint (Dkt. No. 55) (the “SAC”), adding alle-
9    gations concerning, for example, Nexo’s bad faith and further liability under the UCL. Nexo again
10   moved to dismiss, and on August 22, 2022, the Court found that Plaintiff stated a claim for breach
11   of contract, declaratory judgment, and under each of the UCL’s unlawful, unfair, and deceptive
12   prongs, and struck Plaintiff’s class allegations with leave to amend. See Jeong v. Nexo Cap. Inc.,
13   No. 21-CV-02392-BLF, 2022 WL 3590329, at *1 (N.D. Cal. Aug. 22, 2022) (“Jeong II”).
14          On September 21, 2022, Plaintiff filed the operative Third Amended Complaint (Dkt. No.
15   71) (the “TAC”), adding allegations concerning Nexo’s scheme to deliberately cheat large num-
16   bers of consumers out of individually small sums of money and expressly seeking public injunctive
17   relief. Nexo moves to dismiss and/or strike Plaintiff’s class allegations (Dkt. No. 74) primarily
18   based on (1) an unconscionable class action waiver (the “Class Action Waiver”) and (2) a self-
19   serving attempt to take advantage of secretly recorded videos of a former partner of Plaintiff’s
20   counsel to ask this Court prematurely to find that Freedman Normand Friedland LLP (the “Firm”)
21   is “inadequate” as class counsel. The Court should deny Nexo’s motion.
22          Nexo’s attempt to enforce its purported class action waiver fails because it is unenforcea-
23   ble—both under Discover Bank and because it impermissibly purports to waive public injunctive
24   relief. Nexo’s motion to strike Plaintiff’s class allegations due to the supposed inadequacy of his
25   counsel fails for what it plainly is—a meritless attempt to gain strategic litigation advantage. As
26   the Court is familiar with the factual background, Plaintiff does not repeat it here.
27
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1                                              ARGUMENT
2      I.     NEXO’S CLASS ACTION WAIVER IS UNENFORCEABLE BECAUSE IT IS UN-
              CONSCIONABLE
33
4             Under California law, “[u]nconscionable class waivers are unenforceable.” Underwood v.
4
5    Future Income Payments, LLC, No. SACV171570DOCDFMX, 2018 WL 4964333, at *5 (C.D.
5
6    Cal. Apr. 26, 2018); accord Suski v. Marden-Kane, Inc., No. 21-CV-04539-SK, 2022 WL
6    3974259, at *4 (N.D. Cal. Aug. 31, 2022) (“Where, as here, a class action waiver is not coupled
7
78   with an arbitration provision, California law on unconscionability applies.”).

89            In Discover Bank v. Superior Court, the California Supreme Court squarely found that

10   “class action waivers . . . may operate effectively as exculpatory contract clauses that are contrary
9
11   to public policy.” 36 Cal. 4th 148, 161 (2005). That is, class action waivers that would “operate to
10
12   insulate a party from liability that otherwise would be imposed under California law, are generally
11
13   unconscionable.” Id. The “circumstances” in which class action waivers are “unenforceable” as
12   exculpatory clauses under California law are where they are “[1] found in a consumer contract of
14
13   adhesion [2] in a setting in which disputes between the contracting parties predictably involve
15
14
16   small amounts of damages, and [3] when it is alleged that a party with the superior bargaining

17
15   power has carried out a scheme to deliberately cheat large numbers of consumers out of individu-

18   ally small sums of money . . . the waiver becomes in practice the exemption of the party” from
16
19   responsibility for its own misconduct. Id. at 162-63.
17
20            Discover Bank is still the law. In AT&T Mobility LLC v. Concepcion, 563 U.S. 333 (2011),
18
21   “the Supreme Court merely held that the Federal Arbitration Act preempted California’s Discover
19   Bank rule” but courts have made clear that “[w]here, as here, the class action waiver . . . is not
22
20
23   coupled with an arbitration provision, Concepcion does not apply.” Suski, 2022 WL 3974259, at

21
24   *4 n.1; accord Meyer v. Kalanick, 185 F. Supp. 3d 448, 455-59 (S.D.N.Y. 2016) (analyzing the

25   precedent and explaining the Supreme Court’s opinions regarding arbitration provisions “do not
22
26   invalidate in toto the California rule that class action waivers may be held unconscionable”);
23
27
                                                     2
28          Plaintiff’s Memorandum in Opposition to Defendant’s Motion to Dismiss And/Or Strike
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1    Underwood, 2018 WL 4964333, at *5-6 (applying Discover Bank in the absence of any arbitration
2    agreement). Accordingly, under Discover Bank and its progeny, the controlling law remains:

33                  California courts apply a three-part inquiry in order to determine
4                   whether a class action waiver in a consumer contract is unconscion-
4                   able: (1) whether the agreement is a consumer contract of adhesion
5                   drafted by a party that has superior bargaining power; (2) whether
5                   the agreement occurs in a setting in which disputes between the con-
6                   tracting parties predictably involve small amounts of damages; and
6                   (3) whether it is alleged that the party with the superior bargaining
7
                    power has carried out a scheme to deliberately cheat large numbers
78                  of consumers out of individually small sums of money.

89   Suski, 2022 WL 3974259, at *4 (citing Shroyer v. New Cingular Wireless Servs., Inc., 498 F.3d

10   976, 983 (9th Cir. 2007)). Nexo concedes (at 10) that Suski articulates the applicable standard here.
9
11   And Nexo’s class action waiver meets each prong of the Discover Bank test for unconscionability.
10
12          A.      Nexo’s Borrow Terms Are an Adhesion Contract
11          Plaintiff satisfies the first prong of the Discover Bank test because Nexo’s Borrow Terms
13
12   are a consumer contract of adhesion drafted by Nexo in which Nexo has superior bargaining power.
14
13   This Court has already recognized “the fact that the Borrow Terms are an adhesion contract” in
15
14   finding procedural unconscionability here. Jeong II at *15. Indeed, “[a] contract is procedurally
16
     unconscionable if it is a contract of adhesion, i.e., a standardized contract, drafted by the party of
17
15
     superior bargaining strength, that relegates to the subscribing party only the opportunity to adhere
18
16
     to the contract or reject it.” Ting v. AT&T, 319 F.3d 1126, 1148 (9th Cir. 2003). So too here—
19
17
     Plaintiff pleads that “Nexo presents its Borrow Terms & Conditions on a ‘take it or leave it’ basis.
20
18   Nexo does not negotiate the Terms and Conditions with its customers. If the prospective customer
21
19   wants to use the Nexo Crypto Credit, it must agree to the Borrow Terms & Conditions. Nexo and
22
20   its prospective customers do not have remotely equal bargaining power.” TAC ¶ 164.
23
            B.      The Agreement Predictably Involves Small Amounts of Damages
21
24
            Plaintiff has satisfied the second Discover Bank prong by adequately alleging that disputes
25
22
     between Nexo and its users predictably involve small amounts of damages.
26
23
27
                                                  3
28       Plaintiff’s Memorandum in Opposition to Defendant’s Motion to Dismiss And/Or Strike
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1            First, Plaintiff has alleged that Nexo’s misleading and deceptive advertising predictably
2    involves small amounts of damages, including his own. While Nexo makes much of the fact (at

33   12) that Plaintiff has alleged total damages exceeding $100,000, it does not address, as the Court
4    noted in Jeong II, that “Plaintiff alleges he was assessed an undisclosed 1.26% fee for each liqui-
4
5    dation, costing him approximately $1,607.01.” Jeong II at *2; accord TAC ¶¶ 17, 139. Such
5
6    amounts are “small” enough to satisfy the second prong of the Discover Bank test. See Hoffman v.
6
7    Cingular Wireless, LLC, No. 06-CV-1021 W (BLM), 2006 WL 8434236, at *5 (S.D. Cal. Oct. 26,
78
     2006) (rejecting argument “that Plaintiffs’ damage claims are not small within the meaning of Dis-
89   cover Bank” because “the Court finds that $2,875 is small”). Here too, as the Hoffman court rea-
10
9    soned, such an amount “is clearly not sufficient, for example, in cases such as this involving claims
11   for deceptive trade practices where the plaintiff will likely incur significant costs in discovery and
10
12   investigation.” Id. at *6.
11
13           Nexo is wrong in claiming (at 10) that “Jeong added no new allegations . . . to his Third
12
14   Amended Complaint.” As Nexo’s own “chart” (at 8-9) shows, Plaintiff added allegations pleading
13
15   the link between the substantive claim under the UCL and the issue of the small damages Nexo’s
14
16   misconduct predictably would inflict on its customers. That is, Plaintiff has added allegations re-
17
15   garding Nexo’s intent in engaging in its misconduct. The Court has already found that “Plaintiff
18
16   adequately pled a UCL violation based on Nexo’s advertising.” Jeong II at *13. And Plaintiff
19   alleges that “Nexo engaged in ‘deceptive’ and ‘misleading’ advertising, as shown above, by using
17
20   language on its website and other means of communication that is likely to deceive reasonable
18
21   customers into concluding that in using the Nexo Crypto Credit service they would not incur fees,
19
22   including liquidation fees.” TAC ¶ 201. Plaintiff added allegations that “Nexo knew and intended
20
23   that its hidden fees were small percentages of overall transactions—Plaintiff was assessed an un-
21
24   disclosed 1.26% fee on each of his liquidations—such that for typical transactions and customers,
25
22   the damages caused by the imposition of such fees would be under $5,000, if even that, making it
26
23
27
                                                  4
28       Plaintiff’s Memorandum in Opposition to Defendant’s Motion to Dismiss And/Or Strike
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1    cost prohibitive to bring individual claims against Nexo.” TAC ¶ 170 (emphasis added). These
2    well-pled allegations satisfy the second prong of Discover Bank.

33          Second, Nexo misunderstands (at 11) Plaintiff’s separate allegation that “many members
4    of the Damages Class paid less than $2,500” in fees. TAC ¶ 168. As this Court addressed previ-
4
5    ously, see Jeong II at *9, the Borrow Terms contain a “Limitation of Liability” provision purport-
5
6    ing to limit users’ damages to fees paid:
6
7                   IN NO EVENT WILL OUR AGGREGATE LIABILITY FOR
78                  ANY LOSS OR DAMAGE ARISING IN CONNECTION WITH
                    THE NEXO CRYPTO CREDIT EXCEED THE FEES YOU PAID
89                  TO NEXO FOR YOUR USE OF THE SERVICES DURING THE
                    12 MONTH PERIOD IMMEDIATELY PRECEDING THE
10
9                   EVENT GIVING RISE TO THE CLAIM OR LIABILITY. THE
                    FOREGOING LIMITATIONS OF LIABILITY SHALL APPLY
11                  TO THE FULLEST EXTENT PERMITTED BY ANY APPLICA-
10
                    BLE LAW.
12
11   Borrow Terms, Dkt. No. 74-2 § XII.5. While the Court determined to address the “enforceability
13
12   and applicability of this provision until a later stage of the case,” there can be no doubt that, by
14
13   Nexo’s own lights, the Borrow Terms are intended to involve “predictably small amounts of dam-
15
     ages” because Nexo attempts to limit liability solely to the fees paid by its users. Jeong II at *9.
14
16
            Nexo’s Limitation of Liability clause also goes directly to the overall unconscionability of
17
15
     the class action waiver provision, since it is intended to ensure that “the customer does not even
18
16
     have the theoretical possibility he or she can be made whole.” Harper v. Ultimo, 113 Cal. App. 4th
19
17   1402, 1407 (2003) (finding arbitration clause unconscionable that incorporated limitation of lia-
20
18   bility of $2,500); see also Sonic-Calabasas A, Inc. v. Moreno, 57 Cal. 4th 1109, 1144 (2013) (citing
21
19   Harper). When combined with a limitation on liability that purportedly prevents recovery of any-
22
     thing but small amounts of damages, Nexo intends the class action waiver to “operate to insulate”
20
23
     Nexo “from liability that otherwise would be imposed under California law” for small damages
21
24
     and the provision is accordingly “unconscionable.” Discover Bank, 36 Cal. 4th at 161.
25
22
            Third, Plaintiff also alleges as a basis of his UCL claim that Nexo has “claimed the right
26
23
     unilaterally to change the borrowing terms . . . with respect to changes to interest, loan repayment,
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                                                  5
28       Plaintiff’s Memorandum in Opposition to Defendant’s Motion to Dismiss And/Or Strike
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1    or notice terms” and that “Nexo knew and intended that many types of unilateral changes to Nexo’s
2    terms predictably would result in small losses to typical customers such that their damages would

33   be less than $5,000[.]” TAC ¶ 171. Plaintiff alleges, for example, that based on Nexo’s advertising,
4    a reasonable consumer would conclude that under the Borrow Terms “Nexo would not be entitled
4
5    to impose monthly minimum payments on outstanding loans”—the type of “small amount” that
5
6    Nexo’s scheme to be able to unilaterally change its Terms would predictably involve. TAC ¶ 94.
6
7           C.      Nexo Has Engaged in a Scheme to Deliberately Cheat Consumers out of Indi-
78                  vidually Small Sums of Money
            “[F]or a classwide litigation bar to be considered substantively unconscionable, a plaintiff
89
     need only allege that a defendant engaged in a scheme to cheat consumers out of small sums of
10
9
     money.” Laster v. T-Mobile USA, Inc., 407 F. Supp. 2d 1181, 1191 (S.D. Cal. 2005) (emphasis in
11
10   original), aff’d, 252 F. App’x 777 (9th Cir. 2007); see also Meyer, 185 F. Supp. 3d at 455-59 (find-
12
11   ing plaintiff’s allegations of such a scheme sufficient to defeat defendant’s motion to dismiss and
13
12   reconsideration motion on the same issue). This Court previously found that, in his Second
14
13   Amended Complaint, Plaintiff made conclusory allegations of a scheme by Nexo to cheat consum-
15
     ers out of small sums of money. Jeong II at *15. Plaintiff’s amendment has cured any such defect
14
16
     by making clear the link between the well-pled allegations of Nexo’s breach of contract and vio-
17
15
     lations of California law, on the one hand, and its scheme to deprive it customers of small amounts
18
16
     of money, on the other.
19
17          In Laster, the court found it sufficient that the plaintiffs had alleged “Defendants’ practice
20
18   of advertising ‘free’ or substantially discounted phones, while charging consumers sales tax on the
21
19   full retail value of the phone, constitute[d] a scheme to mislead consumers.” 407 F. Supp. 2d at
22
     1191. As in Laster, Plaintiff here alleges a scheme that is directly related to the substance of his
20
23
     allegations—which this Court has already found state a claim for relief—and which “compels the
21
24
     reasonable inference that having imposed on customers a contract of adhesion through the Nexo
25
22
     Borrow Terms & Conditions, Nexo has carried out a scheme to deliberately cheat large numbers
26
23
     of customers out of individually small sums of money.” TAC ¶ 169.
27
                                                  6
28       Plaintiff’s Memorandum in Opposition to Defendant’s Motion to Dismiss And/Or Strike
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1           First, in connection with his well-pled claim for breach of contract, Plaintiff alleges that
2    “Nexo understood, for example, that many customers unable to avoid liquidations would not suffer

33   sizeable losses and therefore would face cost-prohibitive individual lawsuits” and that on infor-
4    mation and belief “many Damages Class members suffered losses of less than $5,000 from Nexo’s
4
5    misconduct on December 23, 2020, and continued suspension of XRP payments, such that it would
5
6    be cost-prohibitive for them to bring individual claims against Nexo.” TAC ¶¶ 167, 169.
6
7           Second, as part of his well-pled UCL claims, Plaintiff alleges that Nexo deceptively and
78
     misleadingly advertised that it would not charge hidden fees, which “would likely avoid detection
89   of those charges completely, let alone face individual lawsuits to recover those lost sums,” and
10
9    that this misconduct was directly tied to a scheme that would “mak[e] it cost prohibitive to bring
11   individual claims against Nexo.” TAC ¶ 170.
10
12          Third, again as part of his well-pled UCL claims, Plaintiff alleges that Nexo deceptively
11
13   and misleadingly advertised that it “would owe and afford its borrowing customers legal rights in
12
14   connection with their purported loans” when it in fact “claimed the right unilaterally to change the
13
15   borrowing terms,” which was intended to make “it cost prohibitive to bring an individual action,
14
16   for example with respect to changes to interest, loan repayment, or notice terms.” TAC ¶ 171.
17
15   Indeed, the Court has found that the rights Nexo claims under the Borrow Terms would render
18
16   them “illusory.” Jeong II at *8. These allegations likewise go to Nexo’s scheme, in purporting to
19   provide consumers with rights under its Borrow Terms, while also purporting to have the unfet-
17
20   tered right to modify those terms, to cheat customers out of individually small amounts.
18
21          Fourth, as discussed further below, any decision on Nexo’s motion to strike at the pleading
19
22   stage would be highly unusual given the absence of discovery and the factual issues that Plaintiff’s
20
23   allegations present. See Est. of Gonzales v. Hickman, No. 05-660 MMM (RCX), 2007 WL
21
24   3238722, at *2 (C.D. Cal. June 11, 2007) (“Questions regarding a defendant’s intent or state of
25
22   mind are uniquely issues of fact”). Plaintiff anticipates that discovery will yield additional evi-
26
23   dence that Nexo’s deceptive advertising coupled with its class action waiver is part of an
27
                                                  7
28       Plaintiff’s Memorandum in Opposition to Defendant’s Motion to Dismiss And/Or Strike
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1    intentional scheme to prevent claims for small losses. As recently as November 15, 2022, for ex-
2    ample, Nexo advertising solicited users to deposit small amounts on its platform—“as little as

33   $10”—in conjunction with its ongoing misleading advertising of “No hidden fees.” Normand Decl.
4    Ex. 1. Indeed, Nexo’s advertising is ongoing in connection with borrowing against XRP and with-
4
5    out any disclosure that XRP cannot be used to repay loans. Normand Decl. Id.
5
6     II.     NEXO’S CLASS ACTION WAIVER IS UNENFORCEABLE BECAUSE IT PUR-
6             PORTS TO WAIVE PUBLIC INJUNCTIVE RELIEF
7
              The California Supreme Court held in McGill v. Citibank, N.A that “a provision in any con-
78
     tract—even a contract that has no arbitration provision—that purports to waive, in all fora, the
89
     statutory right to seek public injunctive relief under the UCL, the CLRA, or the false advertising
10
9
     law is invalid and unenforceable under California law.” 2 Cal. 5th 945, 962 (2017). Nexo’s attempt
11
10   (at 14-17) to argue itself out of that rule is unavailing.
12
11            A.     Plaintiff’s Request for Public Injunctive Relief Is Well-Pled
13
              Nexo’s threshold argument (at 16-17) that Plaintiff has failed to state a claim for public
12
14
     injunctive relief is plainly wrong, for several reasons.
13
15
              First, this Court already held that Plaintiff states a UCL claim for deceptive and misleading
14
16
     advertising and that “[i]njunctive relief under the UCL for deceptive or misleading advertising is
17
15
     the paradigmatic example of ‘public injunctive relief’ under California law.” Jeong II at *16. It
18
16   was only because in his prior complaint Plaintiff had not expressly sought public “injunctive relief
19
17   based on his deceptive or misleading advertising claim” that the Court found he had “not ade-
20
18   quately shown that the Class Action Waiver Provision is unenforceable under the McGill rule” and
21
     granted Plaintiff leave to amend to assert public injunctive relief. Id.
19
22
              Plaintiff has amended accordingly, seeking forward-looking public injunctive relief pro-
20
23
     hibiting Nexo from “engaging in the business of a finance lender or broker without obtaining a
21
24
     license;” “advertising to the public that it offers ‘loans’ through a ‘lending’ relationship;” “adver-
25
22   tising to the public that it would owe and afford its borrowing customers legal rights in connection
26
23   with their purported loans, or in the alternative require that Nexo disclose, in connection with any
27
                                                     8
28          Plaintiff’s Memorandum in Opposition to Defendant’s Motion to Dismiss And/Or Strike
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1    advertisement, that it reserves the sole and absolute discretion to change the terms governing its
2    relationship with its customers;” and “advertising that it does not charge fees, including liquidation

33   fees.” TAC at 56-57 (Request for Relief (a)-(d)).
4            These requests for public injunctive relief are based upon factual allegations of Nexo’s
4
5    violations of the UCL that the Court has already determined are well-pled. Plaintiff alleges, more-
5
6    over, that Nexo targets “California-based retail customers” broadly—and that this “fact under-
6
7    scores the customer and public interest in the declaratory and injunctive relief that Plaintiff seeks.”
78
     TAC ¶ 147; see also id. ¶ 15 (seeking relief “enjoining Nexo from engaging in similar conduct in
89   the future”). And Plaintiff lays out the inapplicability of the class action waiver given the public
10
9    injunctive relief he seeks in the body of the Third Amended Complaint itself. See TAC ¶¶ 174-
11   175. These allegations are ample—certainly sufficient—pleading of public injunctive relief here.
10
12           Second, courts have consistently rejected similar challenges to the pleading of public in-
11
13   junctive relief of the sort that Nexo asserts here. In McGill itself, the court found sufficient allega-
12
14   tions of false advertising less detailed than those here—for example that the defendant “‘con-
13
15   tinue[s] to violate’ the UCL by selling the Plan ‘with advertising that includes false, misleading or
14
16   deceptive information.’” 2 Cal. 5th at 956-57; accord MacClelland v. Cellco P’ship, No. 21-CV-
17
15   08592-EMC, 2022 WL 2390997, at *9 (N.D. Cal. July 1, 2022) (rejecting the “complain[t] that
18
16   Plaintiffs have ‘only conclusorily allege[d] their right to such a remedy’” because the pleading in
19   McGill was even less detailed). Plaintiff alleges in detail here, for example, that “Nexo has made
17
20   substantially similar advertisements that it charges ‘#ZeroFees’ to consumers on an ongoing and
18
21   continuous basis,” TAC ¶ 40, and has accordingly requested “prohibit Nexo from advertising that
19
22   it does not charge fees, including liquidation fees.” Id. at 57 (Request for Relief (d)).
20
23           Indeed, the only relevant case Nexo cites (at 17) in connection with its pleading argument,
21
24   Brown v. Madison Reed, Inc., in fact supports the sufficiency of Plaintiff’s pleading. No. 21-CV-
25
22   01233-WHO, 2021 WL 3861457, at *6 (N.D. Cal. Aug. 30, 2021). In Brown, the court found that
26
23   “[b]y seeking to enjoin [the defendant] from continuing its false and misleading advertising to the
27
                                                  9
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1    general public, [the plaintiff] requests a public injunctive relief that is similar to the relief sought
2    in McGill.” Id. And undermining Nexo’s position (at 17) that somehow Plaintiff’s requests for

33   public injunctive relief needed to be set out in the body of the complaint rather than in Requests
4    for Relief (though Plaintiff sets them out in the body as well), the Brown court reached that con-
4
5    clusion based on requests contained in the Prayer for Relief. See id. (citing Prayer for Relief ¶ F);
5
6    accord Vasquez v. Cebridge Telecom CA, LLC, 569 F. Supp. 3d 1016, 1027 (N.D. Cal. 2021)
6
7    (reviewing prayer for relief and concluding that “Plaintiff's detailed requests for relief, then, cer-
78
     tainly qualify as public injunctions under McGill”).
89          B.      Nexo’s Class Action Waiver Bars Public Injunctive Relief
10
9           Nexo also contends (at 14-16), relying on DiCarlo v. MoneyLion, Inc., 988 F.3d 1148,

11   1152 (9th Cir. 2021), that because Plaintiff may request public injunctive relief in his “individual”
10
12   capacity, its class action waiver does not violate the McGill rule. This argument fails as well.
11
13          First, Nexo’s argument is a red-herring—DiCarlo itself counseled that “we must remember
12
14   that the ultimate inquiry is what was the parties’ ‘objective intent, as evidenced by the words of
13   the contract.’” Id. at 1157; see Lira v. Nat’l Distribution Ctrs., LLC, No. EDCV21672JGBKKX,
15
14
16   2021 WL 6693934, at *7 (C.D. Cal. Dec. 22, 2021) (considering that, as in McGill, the clause

17
15   authorized claims to be brought “on an individual basis only” in concluding “the class action

18   waiver provision of the Agreement is substantively unconscionable and unenforceable under
16
19   McGill”). The provision at issue in DiCarlo “authorized . . . award [of] all remedies available in
17
20   an individual lawsuit,” including public injunctive relief, and the court accordingly declined to
18
21   strike it down under McGill. 988 F.3d at 1157. In contrast, the intent of Nexo’s class action waiver
19
22   provision is clearly that “[a]ny relief awarded cannot affect other Clients of Nexo,” regardless of
20
23   whether the claim is brought individually or in a representative capacity. Borrow Terms, Dkt. No.

21
24   74-2 § XV.2.

25
22          Courts have noted that “language indicating that ‘[t]he arbitrator will not award relief for

26   or against anyone who is not a party’ has been found to violate the McGill rule.” Ionescu v. Extra
23
27
                                                 10
28       Plaintiff’s Memorandum in Opposition to Defendant’s Motion to Dismiss And/Or Strike
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1    Space Storage Inc., No. 19-CV-02226-YGR, 2019 WL 3997480, at *4 (N.D. Cal. Aug. 23, 2019)
2    (citing Adkins v. Comcast Corp., No. 16-cv-05969-VC, 2018 WL 4846548, at *1 (N.D. Cal. Feb.

33   15, 2018) (“The arbitrator may award relief only in favor of the individual party seeking relief . . .
4    The arbitrator may not award relief for or against anyone who is not a party.”)). Nexo’s Class
4
5    Action Waiver states:
5
6                   You agree that any dispute resolution proceeding subject to the Ap-
6                   plicable Law under the preceding sentence shall be conducted only
7                   on an individual basis and not as a plaintiff or class member in any
78                  purported class, consolidated or representative action or proceeding.
                    No court or other dispute resolution authority can consolidate or join
89                  more than one claim and can otherwise preside over any form of a
                    consolidated, representative, or class proceeding. Any relief
10
9                   awarded cannot affect other Clients of Nexo.
11   Borrow Terms, Dkt. No. 74-2 § XV.2. The provision at issue in McGill itself makes clear that
10
12   Nexo’s clause is invalid because it contained substantially similar prohibitions:
11
13                  McGill asserted that the arbitration provision purports to preclude
12                  her from seeking public injunctive relief in any forum. She repeats
14                  that assertion in this court, citing the following clauses of the arbi-
13                  tration provision: (1) ‘[a]n award in arbitration shall determine the
15                  rights and obligations between the named parties only, and only in
14                  respect of the Claims in arbitration, and shall not have any bearing
16
                    on the rights and obligations of any other person, or on the resolu-
17
15                  tion of any other dispute’; (2) ‘[t]he arbitrator will not award relief
                    for or against anyone who is not a party’; (3) ‘the arbitrator may
18
16                  award relief only on an individual (non-class, nonrepresentative) ba-
                    sis’; and (4) ‘neither you, we, nor any other person may pursue the
19                  Claims in arbitration as a class action, private attorney general ac-
17
20                  tion or other representative action.’
18   2 Cal. 5th at 956 (emphasis added). There is no material difference, in short, between the Nexo
21
19   provision and the provision at issue in McGill.
22
20          Courts have specifically found that a provision barring the award relief that would “affect”
23
     a company’s other customers impermissibly prevents public injunctive relief under McGill. In
21
24
     Blair v. Rent-A-Center, Inc., for example, the relevant agreement prohibited an arbitrator from
25
22
     “award[ing] relief that would affect RAC account holders other than [the customer]”—essentially
26
23
     the same language in Nexo’s class action waiver provision—which the court found impermissible
27
                                                 11
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1    under McGill. No. C 17-02335 WHA, 2017 WL 4805577, at *5 (N.D. Cal. Oct. 25, 2017) (em-
2    phasis added). Likewise, in Vasquez v. Cebridge Telecom CA, LLC, the court found unenforceable

33   a clause providing that “neither You nor Suddenlink may seek, nor may the arbitrator award, non-
4    individualized relief that would affect other account holders.’” 569 F. Supp. 3d at 1025 (emphasis
4
5    added).
5
6              Contrary to Nexo’s argument (at 15), the Court did not already determine that a request for
6
7    relief as to “current and prospective” customers constitutes “private injunctive relief” by definition.
78
     Instead, the Court held that, in the context of Plaintiff’s request for injunctive relief on his breach
89   of contract claim, Plaintiff had requested “private injunctive relief” as to “current and prospective
10
9    Nexo customers.” Jeong II at *15. The Court separately addressed Plaintiff’s “deceptive or mis-
11   leading advertising claim as part of their UCL allegations,” which it noted any injunctive relief in
10
12   connection with that claim would be “the paradigmatic example of ‘public injunctive relief’ under
11
13   California law.” Jeong II at *16. In fact, that the “McGill plaintiff brought claims for private relief
12
14   in addition to claims for public injunctive relief did not preclude application of the rule that the
13
15   requests for public injunctive relief had to be litigated in court.” Vasquez, 569 F. Supp. 3d at 1027
14
16   (emphasis in original). So too here.
17
15             C.     Nexo’s Class Action Waiver Is Invalid in its Entirety
18             Nexo’s attempt to rely on the Borrow Terms’ severability clause (the “Severability
16
19   Clause”) to propose that the Court “is simply to strike the offending sentence and allow the rest of
17
20   the Class Action Waiver Provision to stand” is misplaced. The Severability Clause provides:
18
21                    The invalidity of the whole or part of any provision of these General
19                    Terms shall not affect the validity of the whole or part of any other
22                    provision of these General Terms, the remaining provisions of these
20                    General Terms shall remain in full force and effect.
23
     Borrow Terms, Dkt. No. 74-2 § XVI.5. On its face, the Severability Clause applies only to the
21
24
     “validity of the whole or part of any other provision” and does not allow the severing of particular
25
22
     sentences within the Class Action Waiver itself—which, as Nexo acknowledges (at 15-16), is the
26
23   only way to save the provision should it be found unenforceable in part.
27
                                                 12
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1             Consistent with this reasoning, rather than parse language within any given provision that
2    violates the McGill rule, courts consistently have stricken entire class action waivers. In Lira, the

33   court found the entire class action waiver clause invalid under the McGill rule. 2021 WL 6693934,
4    at *7 (“The offending provision here is the class action waiver . . . the Court concludes that sever-
4
5    ance of the class action waiver provision is appropriate and that the Agreement is enforceable
5
6    absent that provision.”). Similarly, in MacClelland v. Cellco P’ship, the court struck down an en-
6
7    tire clause containing a class action waiver after analyzing its unconscionability—including with
78
     respect to its waiver of public injunctive relief. No. 21-CV-08592-EMC, 2022 WL 2390997, at
89   *15 (N.D. Cal. July 1, 2022).
10
9    III.     NEXO’S MOTION TO STRIKE CLASS ALLEGATIONS ON ADEQUACY
              GROUNDS IS PREMATURE AND BASELESS
11
10            Nexo contends (at 18-23) that the Court should strike Plaintiff’s class allegations on ade-
12
11   quacy grounds, purportedly due to the conduct of Plaintiff’s former counsel, Mr. Roche, and what
13
12   Nexo contends is (1) a “conflict” between Plaintiff’s counsel and the Class and (2) an improper
14
13   motive in pursuing this action. Nexo cites documents and filings in other courts describing an
15
     illegally obtained and highly edited video recording of Mr. Roche that was released through a
14
16
     conspiracy website—CryptoLeaks—which appears to have been orchestrated by the defendant in
17
15
     another action pending in this District. See Valenti v. Dfinity USA Research et al., No. 3:21-cv-
18
16
     06118-JD (N.D. Cal.).
19
17            In those videos, to be clear, Mr. Roche “made statements that were highly inappropriate
20
18   and that [he] deeply regret[s].” Roche Decl. ¶ 5. And the Firm likewise “does not agree with th[ose]
21
19   view[s], nor does it believe that such statements reflect Mr. Roche’s true view.” Normand Decl.
22
     ¶ 8. Following the release of the CryptoLeaks videos, Mr. Roche withdrew from this matter, as
20
23
     well as the firm’s class action practice. Id. ¶ 7. As of October 17, 2022, moreover, Mr. Roche is no
21
24
     longer a member of FNF and is no longer associated with the firm. Normand Decl. ¶ 7; Roche
25
22
     Decl. ¶ 8.
26
23
27
                                                    13
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1            The impropriety of Mr. Roche’s statements, however, does not support granting Nexo’s
2    speculative motion. “[I]n the context of a motion to strike class allegations, in particular when such

33   a motion is brought in advance of the close of class discovery, it is properly the defendants who
4    must bear the burden of proving that the class is not certifiable.” Bal v. New Penn Financial, LLC,
4
5    No. SACV 14-1158 AG (JCGx), 2015 WL 3867984, at *5 (C.D. Cal. June 22, 2015) (citation
5
6    omitted). Nexo cannot meet its burden; rather, as shown in detail below, Nexo’s motion to strike
6
7    on adequacy grounds is a transparent litigation tactic that the Court should deny for multiple rea-
78
     sons. First, Nexo cannot establish that Plaintiff’s counsel is inadequate based on a purported con-
89   flict between the Firm and the Class: there is none. Second, Nexo cannot establish that the Firm is
10
9    pursuing any improper purpose here: it is not. Third, Nexo’s request to strike class allegations is
11   premature and involves substantial issues of fact that cannot be resolved on the pleadings. Fourth,
10
12   Nexo cannot carry its burden because it exclusively relies on the contents of court filings, and the
11
13   purported truth of those mistaken filings, which are not suitable for judicial notice.
12
14           A.      There Is No Conflict Between the Firm and the Class
13           Nexo asserts a purported conflict of interest between the Firm and the proposed Class.
15
14
16   Nexo points (at 22-23) to Mr. Roche’s video-recorded statements that he (1) holds AVAX tokens

17
15   and equity in the issuer of AVAX tokens (a then-client called Ava Labs) and (2) that he has sup-

18   posedly filed class actions to support the interests of Ava Labs.
16
19           First, with respect to any purported conflict, the statements Nexo relies upon for its alle-
17
20   gation that this action was filed for the benefit of Ava Labs are false. As Mr. Roche declares: “To
18
21   be clear, I have never filed a class action at the direction of or for the benefit of any entity (client
19
22   or otherwise) not named a party . . . This action is no exception. Roche Freedman LLP filed this
20
23   action on behalf of Plaintiff because we believe that it is meritorious, and because we believe that

21
24   Plaintiff and the proposed class suffered substantial economic harm.” Roche Decl. ¶¶ 6-7. Indeed,

25
22   Nexo nowhere alleges that Mr. Roche ever stated that this action was brought for any improper

26   purpose, because it was not.
23
27
                                                 14
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1            Nexo goes on to suggest that the entire Firm is tainted by Mr. Roche’s allegedly improper
2    purpose in pursuing this action. In the strongest possible terms, the Firm rejects that accusation.

33   As Plaintiff’s lead counsel, Mr. Normand, declares: “To the best of my knowledge, FNF (including
4    its predecessors) has never filed a class action at the direction of or for the benefit of any entity
4
5    (client or otherwise) not named a party.” Normand Decl. ¶ 3. And Mr. Normand’s declaration is
5
6    clear that he has “never spoken with anyone from Ava Labs about any prospective litigation or
6
7    about this action.” Id. ¶ 6.
78
             Second, contrary to Nexo’s insinuation, the Firm has no financial or personal interest in
89   Ava Labs that would affect the Firm’s representation of the putative class members in this case.
10
9    Neither Mr. Roche nor the Firm represent Ava Labs in any matter. See Roche Decl. ¶ 8; Normand
11   Decl. ¶ 6. Certain partners at the Firm have received AVAX tokens, but these tokens are publicly
10
12   available to purchase. Nexo’s citation to these tokens is akin to arguing that a plaintiff’s law firm
11
13   cannot pursue a case because certain of the firm’s lawyers own certain shares of stock. Nor does
12
14   the Firm’s partner-ownership of AVAX tokens create a conflict here, because this lawsuit will
13
15   have no predictable impact on the price of AVAX tokens—as explained below, Ava Labs is plainly
14
16   not a competitor of Nexo. There is no plausible advantage for Ava Labs in FNF pursuing claims
17
15   against Nexo for its misconduct.
18
16           Third, there is no conflict between Ava Labs and Plaintiff or the Class. Under Rule 1.7(b)
19   (and Rule 3-310(B)) “the critical questions are the likelihood that a difference in interests exists .
17
20   . . and, if it does, whether it will materially interfere with the lawyer’s independent professional
18
21   judgment in considering alternatives or foreclose course of action that reasonably should be pur-
19
22   sued on behalf of each client.” Simonyan v. Nationwide Ins. Co. of Am., 78 Cal. App. 5th 889, 898
20
23   (2022) (quoting Cal. Rule Prof’l Conduct 1.7 cmt. 4). Nexo has presented “no evidence” that in-
21
24   dicates that Ava Labs’ interests (let alone, by extension, the Firm’s) conflict with Plaintiff or class
25
22   members. Andrews Farms v. Calcot, LTD., No. CV-F-07-0464LJO DLB, 2010 WL 3341963, at
26
23   *8 (E.D. Cal. Aug. 23, 2010). To the contrary, Nexo’s assertion that the Firm wants to somehow
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                                                 15
28       Plaintiff’s Memorandum in Opposition to Defendant’s Motion to Dismiss And/Or Strike
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1    help Ava Labs by suing Nexo shows that Plaintiff and Ava Labs would have the same interest in
2    this lawsuit—to maximize Plaintiff’s (and the putative class’s) recovery against Nexo. See McIl-

33   wain v. Brown, No. CV 18-5275-DMG (SKx), 2019 WL 8219492, at *8-9 (C.D. Cal. Aug. 30,
4    2019) (finding that facts did “not give rise to a conflict because Defendant’s and Hagens’ interests
4
5    are aligned against Plaintiff,” and “[n]either wants Plaintiff to recover”). This is not to say that it
5
6    is ever proper for an attorney to commence an action for the benefit of anyone other than the named
6
7    plaintiffs and putative class. Instead, Plaintiff merely notes that, by Nexo’s own lights, Ava Labs
78
     did not have conflicting interests with Plaintiff or putative class members, and that Nexo’s position
89   to the contrary is implausible.
10
9           Fourth, if Mr. Roche had a conflict under Rule 1.7, which he does not, it cannot reasonably
11   be imputed to the Firm, because Mr. Roche’s views on class members are personal to him. See
10
12   Cal. Rule Prof’l Conduct 1.10(a) (personal-interest conflict not imputed, where conflict “does not
11
13   present a significant risk of materially limiting the representation of the client by the remaining
12
14   lawyers in the firm.”). “Only the most egregious misconduct on the part of the plaintiffs’ lawyer
13
15   could ever arguably justify denial of class status.” Andrews Farms, 2010 WL 3341963, at *9 (ci-
14
16   tation omitted). FNF has not committed any misconduct. In addition, because Mr. Roche does not
17
15   work on this matter and is no longer at the Firm, his views are irrelevant. Nexo suggest that the
18
16   entire firm shared Mr. Roche’s allegedly improper purpose in pursuing class actions. FNF rejects
19   that accusation. It is unsupported by any evidence and false. Plaintiff’s counsel commenced this
17
20   action, and have pursued it on behalf of Plaintiff, because they believe that the claims are merito-
18
21   rious and that Defendants’ wrongdoing caused substantial harm to Plaintiff and the proposed class.
19
22   Normand Decl. ¶ 4. As should be obvious, moreover, Defendants do not (and cannot) suggest that
20
23   this action is frivolous—this Court has twice found that Plaintiff has stated claims against Nexo.
21
24   See Jeong I & Jeong II.
25
22
26
23
27
                                                 16
28       Plaintiff’s Memorandum in Opposition to Defendant’s Motion to Dismiss And/Or Strike
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1            B.      Nexo’s Allegations That the Firm Is Improperly Pursuing This Action Are
                     False, Implausible, and Unsupported
2            Nexo asserts (at 22-23) that the Firm has “a strong pecuniary interest in damaging Nexo to
33   benefit of Ava Labs, in tailoring documents requests to obtain documents relevant to Nexo’s inner-
4
4    workings, and developing the case as a tool to further the interests of Ava Labs.” In other words,
5
     Nexo asserts that the Firm initiated this lawsuit to benefit Ava Labs and will abuse the discovery
5
6
     process to benefit Ava Labs. Nexo’s allegation is false, implausible, and unsupported.
6
7
             First, any statements by Mr. Roche that would imply discovery might be abused in this
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     action (or any action) are false. As Mr. Roche declares: “Nor have I ever disclosed or used, for any
89
     collateral purpose, any confidential information obtained in connection with any lawsuit.” Roche
10
9    Decl. ¶ 6. And Mr. Normand declares: “Nor have, to the best of my knowledge, any attorneys at
11
10   the Firm disclosed or used, for any collateral purpose, any confidential information obtained in
12
11   connection with any lawsuit.” Normand Decl. ¶ 3. Nexo presents no facts to the contrary.
13
             Second, Nexo’s request itself belies any concern it has regarding discovery abuse. If Nexo
12
14
     had actual concerns regarding discovery abuse, it would not merely move to strike class allega-
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15
     tions; rather, it would move to disqualify the Firm. It has not done so. See Dkt. No. 74 at 23-24
14
16
     (“Striking the class allegations leaves Jeong’s individual claims intact but precludes his attorneys
17
15   from obtaining the right to prosecute a class action for unethical reasons”). This shows that Nexo
18
16   has no legitimate concerns of discovery abuse, because the Firm will still receive discovery in an
19
17   individual action. And any concern about the potential of Mr. Roche abusing discovery cannot
20
18   extend to the Firm’s litigation of this action—no discovery occurred in this litigation (besides ini-
21
     tial disclosures) while Mr. Roche was with the Firm, and he no longer is with Firm.
19
22
             Instead, Nexo’s sole motivation for bringing this motion is to seek strategic advantage in
20
23
     this litigation, to limit its financial exposure, and to avoid further attention from regulators policing
21
24
     its misconduct. See Simpson Strong-Tie Co., Inc. v. Oz-Post Int’l, LLC, No. 3:18-cv-01188-WHO,
25
22   2018 WL 3956430, at *18 (N.D. Cal. Aug. 17, 2018) (denying motion, where “several factors”
26
23   suggested that movant was “not truly concerned with a potential breach of the duty of loyalty”).
27
                                                 17
28       Plaintiff’s Memorandum in Opposition to Defendant’s Motion to Dismiss And/Or Strike
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1    This Court found, for example, that Plaintiff adequately alleged bad faith in connection with his
2    breach of contract claim. Jeong II at *8. One of the alleged bases of Nexo’s bad faith conduct is

33   that “Nexo further acted in bad faith in suspending XRP payments on December 23, 2020, because
4    it did so in part to maintain Nexo’s profits from its Earn Interest product, at the expense of Nexo’s
4
5    Crypto Credit customers.” TAC ¶ 80; SAC ¶ 80. On September 26, 2022, eight states, including
5
6    California, filed enforcement actions or orders against Nexo for violating those states’ securities
6
7    regulations and/or consumer protection laws in offering its Earn Interest product. Normand Decl.
78
     Exs. 4-11. Nexo plainly seeks, through this motion to strike class allegations by attacking Plain-
89   tiff’s counsel, to deflect any further attention from its misconduct, for its own strategic regulatory
10
9    advantage.
11          Third, the bases of Nexo’s motion are implausible because knowledge of Nexo’s inner
10
12   workings could not further Ava Labs’ interests. Indeed, Nexo does not even attempt to explain
11
13   how this litigation could benefit Ava Labs. Ava Labs provides a platform for individuals to build
12
14   decentralized finance applications on its blockchain. Normand Decl. Exs. 2, 3 (“Avalanche is an
13
15   open-source platform for launching decentralized applications and enterprise blockchain deploy-
14
16   ments in one interoperable, highly scalable ecosystem.”). Unlike Nexo, it neither engages in lend-
17
15   ing monies to its customers nor operates an exchange. Exchanges like Nexo sell AVAX tokens.
18
16   Indeed, Nexo offers AVAX tokens to its customers for purchase and allows its customers to use
19   AVAX tokens as collateral for loans. Normand Decl. Ex. 2. The Court may take judicial notice
17
20   that on November 3, 2021, Nexo even announced that “Nexo is partnering with Avalanche because
18
21   it has not only built one of the fastest, most customizable DeFi ecosystems,” and advertised AVAX
19
22   tokens would be available on its exchange, to earn interest, and to use as collateral. Id. In other
20
23   words, Nexo and Ava Labs both benefit from each other’s existence and success. There is simply
21
24   no logical or plausible support for Nexo’s allegation that this litigation furthers—or somehow
25
22   could further—Ava Labs’ interests.
26
23
27
                                                 18
28       Plaintiff’s Memorandum in Opposition to Defendant’s Motion to Dismiss And/Or Strike
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1           C.      Nexo’s Request to Strike Is Premature
            The Court should also reject Nexo’s motion to strike class action allegations, particularly
2
     given the complex factual issues here, as premature. To argue that the Firm is inadequate, Nexo
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     relies (at 21-22) on court filings that describe the contents of the videos at issue. Those filings
4
4
     show, moreover, that the assertions in those videos are substantially contested, see, e.g., Dkt. No.
5
5    74-3, Exs. 2-E, 2-F, 2-J—as do Mr. Roche’s and Mr. Normand’s declarations herein attesting to
6
6    their falsity. Such fact-specific inquiries regarding conflicts, motives, and out-of-court conduct by
7
78   Plaintiff’s former counsel, which require resolution of disputed and substantial factual issues, are
     not suitable for resolution on a motion to strike. See Meza v. Sirus XM Radio Inc., No. 17-CV-
89
     02252-AJB-JMA, 2020 WL 905588, at *5 (S.D. Cal. Feb. 25, 2020) (“[C]ourts may not resolve
10
9
     disputed and substantial factual or legal issue[s] in deciding . . . a motion to strike.”) (internal
11
10
     quotations omitted). Cases finding class counsel inadequate are accordingly “all decided on mo-
12
11   tions for class certification, not motions to strike or dismiss.” AIIRAM LLC v. KB Home, No. 19-
13
12   CV-00269-LHK, 2019 WL 3779185, at *8 (N.D. Cal. Aug. 12, 2019). Nexo’s motion to strike
14
13   class allegations is accordingly improper. See Cortez v. United Natural Foods, Inc., No. 18-cv-
15
14   04603-BLF, 2019 WL 955001, at *13 (N.D. Cal. Feb. 27, 2019) (“The Ninth Circuit in Whittle-
16
     stone cautioned that courts should not resolve ‘disputed and substantial factual or legal issues in
17
15
     deciding a motion to strike.’”).
18
16
            The adequacy of class counsel is a fact-intensive determination. Federal Rule of Civil Pro-
19
17
     cedure 23(g) provides “guidance for assessing the adequacy of class counsel.” Patel v. Trans Un-
20
18   ion, LLC, 308 F.R.D. 292, 307 (N.D. Cal. 2015). Rule 23(g) requires courts to consider (1) “the
21
19   work counsel has done in identifying or investigating potential claims in the action,” (2) “counsel’s
22
20   experience in handling class actions, other complex litigation, and the types of claims asserted in
23
     the action,” (3) “counsel’s knowledge of the applicable law,” (4) “the resources that counsel will
21
24
     commit to representing the class,” (5) “any other matter pertinent to counsel’s ability to fairly and
25
22
     adequately represent the interests of then class.” Fed. R. Civ. P. 23(g)(1). In addition to these
26
23
     requirements, courts “inquire (1) whether the . . . counsel ha[s] any conflicts of interest with the
27
                                                 19
28       Plaintiff’s Memorandum in Opposition to Defendant’s Motion to Dismiss And/Or Strike
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1    rests of the class and (2) whether the . . . counsel will prosecute the action vigorously for the class.”
2    Meza, 2020 WL 905588, at *5. These are all “fact-specific questions not suited for resolution at

33   the pleading stage.” KB Home, 2019 WL 3779185, at *8.
4             Accordingly, courts in this District and the Ninth Circuit consistently find that motions to
4
5    strike class allegations based on the inadequacy of counsel are premature and refuse to consider
5
6    them at the pleading stage. “Courts disfavor motions to strike class allegations because issues re-
6
7    lated to class allegations are generally more appropriately resolved on a motion for class certifica-
78
     tion.” Colopy v. Uber Techs. Inc., No. 19-cv-06462, 2019 WL 6841218, at *10 (N.D. Cal. Dec.
89   16, 2019). This rule carries even more weight when the motion to strike is based on the adequacy
10
9    of counsel. See KB Home, 2019 WL 3779185, at *7 (“[W]hether Plaintiffs’ attorney is suitable
11   class counsel under Rule 23 are questions reserved for a motion for class certification.”); see also
10
12   Meza, 2020 WL 905588, at *5 (“[A] motion to strike is an improper vehicle to test the purported
11
13   conflict of interest here, the issue of adequacy of counsel may more appropriately be addressed in
12
14   the context of a motion for class certification.”); Guiterrez v. City of Long Beach, No. 19-9941-
13
15   DMG (Ex), 2020 WL 2747241, at *4 (C.D. Cal. May 27, 2020) (holding that it was improper to
14
16   strike class allegations at the pleading stage even though the pro se plaintiff had no class coun-
17
15   sel.”); Sandoval v. Ali, 34 F. Supp. 3d 1031, 1044-48 (N.D. Cal. 2014) (denying defendants motion
18
16   to dismiss based on plaintiff’s counsel’s potential conflict of interest and declining to disqualify
19   counsel at the pleading stage of the proceeding). For good reason, Nexo identifies no case where
17
20   a court struck class allegations on counsel’s adequacy grounds during the pleading stage.1
18
21
19
22   1
         None of the cases that Nexo cites struck class allegations based on counsel’s adequacy at the
20
23
     pleading stage. See Andrews Farms v. Calcot, Ltd., No. CV-F-07-0464 LJO DLB, 2010 WL
21
24
     3341963 (E.D. Cal. Aug. 23, 2010) (motion to decertify class); Radcliffe v. Experian Info. Sols.,
25
22   Inc., 715 F.3d 1157 (9th Cir. 2013) (appeal from approval of class action settlement); Kouchi v.
26
23   Am. Airlines, Inc., No. CV 18-7802 PSG (AGRx), 2021 WL 6104391 (C.D. Cal. Oct. 27, 2021)
27
                                                   20
28         Plaintiff’s Memorandum in Opposition to Defendant’s Motion to Dismiss And/Or Strike
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1            D.      Nexo’s Reliance on the Contents of Court Filings Is Improper
             “The grounds for a motion to strike must appear on the face of the pleading under attack,
2
     or from matters which the Court may take judicial notice.” Smith v. Specialized Loan Servicing,
33
     LLC, No. 16cv2519-GPC (BLM), 2017 WL 4181395, at *2 (S.D. Cal. Sept. 21, 2017). To carry
4
4
     its burden, Nexo relies (at 29-31) on the order of Judge Failla of the Southern District of New York
5
5    amending her prior order appointing Roche Freedman LLP as interim class counsel in In re Tether
6
6    and Bitfinix Crypto Asset Litigation, No. 1:19-cv-09236 (S.D.N.Y.), in which the Firm was one of
7
78   three co-lead law firms, and asks this Court to take judicial notice of numerous court filings that
     describe the CryptoLeaks publication, including pleadings, motions, and letters filed by parties.
89
     Nexo’s reliance on these sources is misguided.
10
9
             First, Nexo’s basis for challenging the Firm’s adequacy is premised on the contents of the
11
10
     various court filings it relies on. Although a “Court may take judicial notice of the existence of a
12
11   court filing to establish the fact of such litigation and its filings, it cannot take judicial notice of
13
12   the truth of the contents of those filings.” Lauter v. Rosenblatt, No. CV 15-8481-DDP (KSx), 2017
14
13
15
14
16   (motion for class certification); Bodner v. Oreck Direct, LLC, No. C 06-4756 MHP, 2007 WL

17
15   1223777 (N.D. Cal. Apr. 25, 2007) (motion for class certification); Creative Montessori Learning

18   Ctrs. v. Ashford Gear LLC, 662 F.3d 913 (7th Cir. 2011) (appeal from class certification); Reliable
16
19   Money Order, Inc. v. McKnight Sales Co., Inc., 704 F.3d 489 (7th Cir. 2013) (appeal from class
17
20   certification); White v. Experian Info. Sols., No. SACV 05-01070 DOC(MLGx), 2014 U.S. Dist.
18
21   LEXIS 61433 (C.D. Cal. May 1, 2014) (order denying motion to disqualify, motion to appoint
19   interim class counsel, and granting cross-motion to appoint interim class counsel); Del Campo v.
22
20
23   Mealing, No. C 01-21151 JW, 2011 U.S. Dist. LEXIS 158019 (N.D. Cal. Sep. 29, 2011) (order on

21
24   motion to disqualify counsel); People ex rel. Dep’t of Corps. v. SpeeDee Oil Change Sys., Inc., 20

25
22   Cal. 4th 1135, 1153 (1999) (unrelated to Rule 23 adequacy of class counsel); Sandoval v. M1 Auto

26   Collisions Ctrs., 309 F.R.D. 549, 571 (N.D. Cal. 2015) (finding counsel adequate on motion for
23
27   class certification).
                                                 21
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1    WL 5592886, at *4 (C.D. Cal. May 18, 2017). This includes any “findings of fact from other
2    proceedings.” Coffee Hut v. Cnty. of Ventura, No. LA CV21-00654-JAK (Ex), 2021 WL 461591,

33   at *3 (C.D. Cal. Feb. 9, 2021) (holding that the Court will take judicial notice of an order in another
4    proceeding, but “not for findings of fact made in the Order”). This Court should, therefore, disre-
4
5    gard any assertions in Nexo’s motion that rely on the contents of court filings, including Judge
5
6    Failla’s order. And without the contents of these filings, Nexo’s argument is nothing more than
6
7    mere recitation of legal standards and barebone assertions that cannot satisfy its burden.
78
             Second, if the Court were to consider the content of Judge Failla’s order, it does not support
89   striking class allegations based on the Firm’s adequacy. Contrary to Nexo’s suggestion (at 30),
10
9    Judge Failla did not make any “findings about what Mr. Roche did or did no do or meant or did
11   not mean” in the CryptoLeaks videos. Dkt. No. 74-3 at 21. Rule 23(a), as noted, requires a court
10
12   to engage in a rigorous analysis of factual issues surrounding class determination. See Comcast
11
13   Corp. v. Behrend, 569 U.S. 27, 33 (2013) (“[W]e have emphasized that it may be necessary for
12
14   the courts to probe behind the pleading before coming to rest on the certification question, and that
13
15   certification is proper only if the trial court is satisfied, after a rigorous analysis that the prerequisite
14
16   of Rule 23(a) have been satisfied.”); Lyons v. Coxcom, Inc., 718 F. Supp. 2d 1232, 1236 (S.D. Cal.
17
15   2009) (finding that “class determination generally involves considerations that are enmeshed in
18
16   the factual and legal issues comprising the plaintiff’s cause of action”). There is no factual record
19   here to allow any “rigorous analysis” of Rule 23(a)’s adequacy requirement.
17
20   IV.     NEXO’S MOTION TO STRIKE PLAINTIFF’S DAMAGES CLASS AND EQUITA-
18           BLE RELIEF CLASS ALLEGATIONS ON STANDING GROUNDS IS PREMA-
21           TURE AND WRONG ON THE MERITS
19
22           Nexo further contends (at 24-25) in “the alternative” that the Court should strike non-Cal-
20
23   ifornia class allegations from the Damages and Equitable-Relief classes “on standing grounds.”
21
24   That is wrong for at least two reasons.
25
22           First, the argument is premature. See Lytle v. Nutramax Lab’ys, Inc., No. EDCV 19-835
26
23   (JGB) (SPx), 2019 WL 8060070, at *7 (C.D. Cal. Sept. 26, 2019) (rejecting argument that
27
                                                   22
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1    “plaintiffs lack standing to represent non-California residents bringing claims under the laws of
2    other states for purchases outside of California” because it is simply a “premature class certifica-

33   tion opposition”); Sonner v. Schwabe N. Am., Inc., No. EDVC 15-01358-VAP (SPx), 2015 WL
4    13307076, at *8–9 (C.D. Cal. Nov. 18, 2015) (“[C]ourts should engage in a choice-of-law analysis
4
5    to determine if the various laws at issue conflict. Such analysis, however, is untimely. A detailed
5
6    choice-of-law analysis would be inappropriate for a Motion to Strike.” (quotation omitted)).
6
7           Second, Nexo does not rely upon a single case that says it is inappropriate to certify a
78
     nationwide class for breach of contract because the named plaintiff resides in California and lacks
89   standing to assert such claims. That is because “only the named plaintiffs need to have standing to
10
9    assert a breach of contract claim based on an identical form contract on behalf of class members
11   in states with similar contract laws.” Ellsworth v. U.S. Bank, N.A., No. C 12-02506 LB, 2014 WL
10
12   2734953, at *31 (N.D. Cal. June 13, 2014); see also Hernandez v. Wells Fargo Bank, N.A., No. C
11
13   18-07354 WHA, 2020 WL 469893, at *3 (N.D. Cal. Jan. 29, 2020) (certifying nationwide breach
12
14   of contract class and noting any “variations from state to state can be handled within the overall
13
15   management of the classwide trial of the contract claim.”). Plaintiff has alleged in connection with
14
16   his breach of contract claim that “under the common law across states, however, a provision af-
17
15   fording such discretion is subject to the implied covenant of good faith and fair dealing.” TAC ¶
18
16   60; see also id. ¶ 57 (explaining that Nexo’s “material breaches of contract, under well-established
19   principles of contract law that apply under state common law, excused the contractual obligations
17
20   of Nexo customers affected thereby”).
18
21          Instead, despite acknowledging (at 24) that its argument does not address the UCL Class,
19
22   Nexo relies upon case law standing for the proposition that “statutory consumer protection claims”
20
23   are not applied extraterritorially. Nexo’s reliance on Mazza v. Am. HondaMotor Co., 666 F.3d 581
21
24   (9th Cir. 2012), and its progeny is inapposite. “Following Mazza, courts in this Circuit have rou-
25
22   tinely held that decision does not hold that nationwide classes are, as a matter of law, uncertifiable
26
23   under California’s consumer protection laws.” Sonner v. Schwabe N. Am., Inc., 2015 WL
27
                                                 23
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1    13307076, at *8–9 (C.D. Cal. Nov. 18, 2015) (collecting cases). And Mazza itself “expressed no
2    opinion” as to whether the district court there could “certify a class with members more broadly

33   but with subclasses for class members in different states, with different jury instruction for mate-
4    rially different bodies of state law.” Mazza, 666 F.3d at 594.
4
5                                              CONCLUSION
5
6            Plaintiff respectfully submits, for all of the foregoing reasons, that the Court should deny
6
7    Nexo’s motion to dismiss and/or strike Plaintiff’s class allegations in its entirety. Plaintiff requests
78
     leave to amend in the event any portion of Nexo’s motion is granted.
89

10
9    Dated: November 21, 2022
11
10                                                   Respectfully submitted,
12
11                                                   /s/ Edward Normand
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12                                                   Alex Potter (pro hac vice)
14                                                   Stephen Lagos (pro hac vice)
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28       Plaintiff’s Memorandum in Opposition to Defendant’s Motion to Dismiss And/Or Strike
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